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     Epic Games, Inc.
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15                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF CALIFORNIA
16
                                   OAKLAND DIVISION
17
                                                     Case No. 4:20-CV-05640-YGR-TSH
18   EPIC GAMES, INC.,
                                                     EPIC GAMES, INC.’S WITNESS LIST
19                 Plaintiff, Counter-defendant,
                                                     FOR EVIDENTIARY HEARING ON
20                        v.                         MOTION TO ENFORCE INJUNCTION

21   APPLE INC.,                                     Hearing Date: February 24, 2025
                                                     Courtroom: 1, 4th Floor
22                 Defendant, Counterclaimant.
                                                     Judge: Hon. Yvonne Gonzalez Rogers
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     EPIC GAMES, INC.’S WITNESS
     LIST FOR EVIDENTIARY HEARING
     ON MOTION TO ENFORCE INJUNCTION                           CASE NO. 4:20-CV-05640-YGR-TSH
       Case 4:20-cv-05640-YGR          Document 1273       Filed 02/21/25     Page 2 of 3




1           Plaintiff and Counter-defendant Epic Games, Inc. (“Epic”) respectfully submits this

2    witness order pursuant to Order Regarding Evidentiary Hearing Schedule entered by the Court on

3    February 18, 2025. (ECF No. 1234.) Epic reserves the right to supplement or amend this list for

4    good cause.

5

6
                              Witness Name           Party Affiliation
7

8                             Philip Schiller        Apple Inc.

9                             Rafael Onak            Apple Inc.
10
                              Carson Oliver          Apple Inc.
11
                              Kunnal Vij             Apple Inc.
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13                            Marni Goldberg         Apple Inc.

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28   EPIC GAMES, INC.’S WITNESS
     LIST FOR EVIDENTIARY HEARING
     ON MOTION TO ENFORCE INJUNCTION 1                  CASE NO. 4:20-CV-05640-YGR-TSH
       Case 4:20-cv-05640-YGR     Document 1273     Filed 02/21/25     Page 3 of 3



     Dated: February 21, 2025             Respectfully submitted,
1
                                          By:     /s/ Gary Bornstein
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     EPIC GAMES, INC.’S WITNESS
     LIST FOR EVIDENTIARY HEARING
     ON MOTION TO ENFORCE INJUNCTION     2              CASE NO. 4:20-CV-05640-YGR-TSH
